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                             14                                UNITED STATES BANKRUPTCY COURT
      767 Fifth Avenue




                             15                                NORTHERN DISTRICT OF CALIFORNIA
                                                                      SAN FRANCISCO DIVISION
                             16

                             17                                               Bankruptcy Case No. 19-30088 (DM)
                                                                              Chapter 11 (Lead Case) (Jointly Administered)
                             18     In re:
                                                                              NOTICE OF HEARING ON DEBTORS’
                             19     PG&E CORPORATION,                         MOTION PURSUANT TO 11 U.S.C. §§ 105(a)
                                                                              AND 502(c) FOR THE ESTABLISHMENT OF
                             20              - and -
                                                                              WILDFIRE CLAIMS ESTIMATION
                             21     PACIFIC GAS AND ELECTRIC                  PROCEDURES
                                    COMPANY,
                             22                                               Date: August 14, 2019
                                                                   Debtors.   Time: 9:30 a.m. (Pacific Time)
                             23                                               Place: United States Bankruptcy Court
                                     Affects PG&E Corporation                       Courtroom 17, 16th Floor
                             24      Affects Pacific Gas and Electric               San Francisco, CA 94102
                                    Company
                             25      Affects both Debtors                    Objection Deadline: August 7, 2019
                                                                                                  4:00 p.m. (Pacific Time)
                             26     * All papers shall be filed in the Lead
                                    Case, No. 19-30088 (DM).
                             27

                             28



                              Case: 19-30088           Doc# 3093   Filed: 07/19/19   Entered: 07/19/19 07:46:31    Page 1 of
                                                                               2
 1           PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
     Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession (the
 2   “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a voluntary
     petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
 3   with the United States Bankruptcy Court for the Northern District of California (San Francisco
     Division) (the “Bankruptcy Court”).
 4

 5         PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
     August 14, 2019, at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
 6   Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden
     Gate Avenue, San Francisco, California 94102.
 7
            PLEASE TAKE FURTHER NOTICE that, in addition to any other matters to be heard at
 8
     the Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Debtors’ Motion Pursuant to 11
 9   U.S.C. §§ 105(a) and 502(c) for the Establishment of Wildfire Claims Estimation Procedures filed by
     the Debtors on July 18, 2019 [Dkt. No. 3091] (the “Motion”).
10
             PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the Motion must
11   be in writing, filed with the Bankruptcy Court, and served on the counsel for the Debtors at the
     above-referenced addresses so as to be received by no later than 4:00 p.m. (Pacific Time) on
12
     August 7, 2019. Any oppositions or responses must be filed and served on all “Standard Parties” as
13   defined in, and in accordance with, the Second Amended Order Implementing Certain Notice and
     Case Management Procedures entered on May 14, 2019 [Dkt No. 1996] (the “Case Management
14   Order”). Any relief requested in the Motion may be granted without a hearing if no opposition
     is timely filed and served in accordance with the Case Management Order. In deciding the
15   Motion, the Court may consider any other document filed in these Chapter 11 Cases and related
16   Adversary Proceedings.

17            PLEASE TAKE FURTHER NOTICE that copies of the Motion and its supporting papers
     can be viewed and/or obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov,
18   (ii) by contacting the Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA
     94102, or (iii) from the Debtors’ notice and claims agent, Prime Clerk LLC , at
19   https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for U.S.-based
     parties; or +1 (929) 333-8977 for International parties or by e-mail at: pgeinfo@primeclerk.com.
20
     Note that a PACER password is needed to access documents on the Bankruptcy Court’s website.
21
     Dated: July 19, 2019
22                                          WEIL, GOTSHAL & MANGES LLP
                                            KELLER & BENVENUTTI LLP
23
                                             /s/ Thomas B. Rupp
24                                           Thomas B. Rupp

25                                           Attorneys for Debtors and Debtors in Possession

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